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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CR. NO. 13-01014 SOM
                              )
          Plaintiff,          )           ORDER DENYING MOTION FOR
                              )           COMPASSIONATE RELEASE
                              )
                              )
     vs.                      )
                              )
TULITUAFULU TULI MAATA,       )
                              )
          Defendant.          )
                              )
_____________________________ )

           ORDER DENYING MOTION FOR COMPASSIONATE RELEASE

I.          INTRODUCTION.

            On March 31, 2014, this court sentenced Defendant

Tulituafulu Tuli Maata to 160 months of imprisonment and five

years of supervised release.       Maata had entered a guilty plea

with respect to two drug crimes--(1) one count of conspiracy to

distribute and possess with intent to distribute 50 grams or more

of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A), and 846, and (2) one count of possession with

intent to distribute 50 grams or more of methamphetamine in

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)).            See ECF

Nos. 36 and 37.     Maata was responsible for 1.724 kilograms of

“ice.”   See Pretrial Investigation Report, ECF No. 38, PageID

# 109; ECF No. 36 (adopting Pretrial Investigation Report).             On

July 13, 2015, the court reduced Maata’s sentence of

incarceration to 151 months pursuant to Amendment 782 and 18
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U.S.C. § 3582(c)(2).      See ECF No. 39.

            Maata is currently incarcerated in the South Satellite

Camp of USP Lompoc, in Lompoc, California.           He has a projected

release date of January 27, 2024.        See ECF No. 41-1, PageID

# 143; ECF No. 44, PageID # 220 (medical record indicating that

Maata “is a Camp inmate”); https://www.bop.gov/inmateloc/ (input

Register Number 15568-022) (last visited October 21, 2020).

             USP Lompoc houses 1,209 inmates, with 896 at the USP,

105 at the North Camp, and 208 at the South Camp.           See

https://www.bop.gov/locations/institutions/lom/ (last visited

October 21, 2020).     As of the morning of October 21, 2020, USP

Lompoc has no active cases of COVID-19 in its inmate population

and four active cases of COVID-19 in its staff.          USP Lompoc and

its two camps have had 149 inmates and 24 staff members recover

from COVID-19.     Two inmates have died.      See

https://www.bop.gov/coronavirus/index.jsp (last visited October

21, 2020).    It is not clear how many of individuals at the South

Camp in which Maata is incarcerated have had COVID-19, as the

numbers published on the BOP website combine the totals for the

USP and its two camps.

            Maata’s moving papers state that he is 50 years old and

5' 11" and 350 pounds (making him morbidly obese), and that he

has hypertension, gout, and vitamin D and B-12 deficiencies.

These statements are supported by the sealed medical records


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submitted to the court.      See ECF No. 44, Page ID #s 203, 205,

223, 248; ECF No. 55, PageID # 530; see also Presentence

Investigation Report, ECF No. 38, PageID # 112.          Apparently,

Maata had gastric bypass surgery in 2000, when he weighed 378

pounds and had a body mass index of 52.7.         See ECF No. 52, PageID

# 490.   Despite this surgery, Maata at this point weighs 350

pounds and has a BMI of 48.8.       See ECF No. 41, PageID # 133; see

also ECF No. 44, PageID # 204;

https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english

_bmi_calculator/bmi_calculator.html.        Maata’s hypertension

appears to be under control given his medical treatment.            See ECF

No. 50-1, PageID #s 354, 357; ECF No. 55, PageID # 532.            Although

a COVID-19 test has been ordered for Maata, see ECF No. 44, Page

ID # 210 and ECF No. 50-1, PageID # 366, he says that it has not

been performed.     See ECF No. 52-5, PageID # 519 (e-mail from

Maata stating, “No, I have never been tested for CV-19.”).

II.         ANALYSIS.

            Maata’s compassionate release request is governed by 18

U.S.C. § 3582(c)(1)(A), which provides:

            [T]he court . . . upon motion of the
            defendant after the defendant has fully
            exhausted all administrative rights to appeal
            a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse
            of 30 days from the receipt of such a request
            by the warden of the defendant’s facility,
            whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of


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            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that--

            (i) extraordinary and compelling reasons
            warrant such a reduction . . . .

            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission.

In other words, for the court to exercise its authority under

§ 3582(c)(1)(A), it must (1) find that the defendant exhausted

his administrative remedies or that 30 days have passed since he

filed an administrative compassionate relief request; (2) also

find, after considering the factors set forth in section 3553(a),

that extraordinary and compelling reasons warrant a sentence

reduction; and (3) find that such a reduction is consistent with

the Sentencing Commission’s policy statements.          United States v.

Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020).

            A.    Maata Has Satisfied the Time-lapse Requirement of
                  18 U.s.c. § 3582(c)(1)(A).

            Maata submitted an administrative compassionate release

request to the warden of his prison on June 19, 2020, more than

30 days before filing this motion.        See ECF No. 41-5, PageID

# 177; ECF No. 41.     The Government concedes that Maata has

satisfied the exhaustion requirement.         See ECF No. 47, PageID

#s 287-88.    Accordingly, this court finds that Maata has

fulfilled the first requirement of § 3582(c)(1)(A).

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            B.    This Court Has Discretion in Determining Whether
                  Extraordinary and Compelling Reasons Justify a
                  Reduced Sentence.

            This court turns to § 3582(c)(1)(A)’s second

requirement: whether extraordinary and compelling reasons warrant

a sentence reduction.      In orders addressing compassionate release

motions in other cases, this court has expressly recognized that

it possesses considerable discretion in determining whether a

particular defendant has established the existence of

extraordinary and compelling reasons that justify early release.

This court has also stated that, in reading § 3582(c)(1)(A) as

providing for considerable judicial discretion, the court is well

aware of the absence of an amended policy statement from the

Sentencing Commission reflecting the discretion given to courts

when Congress amended the statute to allow inmates themselves to

file compassionate release motions, which previously only the

Bureau of Prisons could file for inmates.         See United States v.

Mau, 2020 WL 6153581 (D. Haw. Oct. 20, 2020); United States v.

Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020); United

States v. Cisneros, 2020 WL 3065103, at *2 (D. Haw. Jun. 9,

2020); United States v. Kamaka, 2020 WL 2820139, at *3 (D. Haw.

May 29, 2020).     Specifically, this court has recognized that an

Application Note to a relevant sentencing guideline is outdated.

This court continues to view its discretion as not limited by




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Sentencing Commission pronouncements that are now at odds with

the congressional intent behind recent statutory amendments.

            As amended by Congress, § 3582(c)(1)(A) states that a

court’s conclusion that extraordinary and compelling

circumstances warrant a reduction in sentence must be consistent

with any applicable policy statements issued by the Sentencing

Commission.    But following the First Step Act’s amendments to

§ 3582(c)(1)(A) in 2018, the Sentencing Commission did not adjust

its statements to make them consistent with the statutory

amendment allowing prisoners themselves to bring motions for

compassionate release.      Instead, the Sentencing Commission has

left in place statements premised on the Bureau of Prisons’

exclusive authority to bring compassionate release motions.             This

court reads such statements as inapplicable to motions brought

directly by prisoners.      This court’s exercise of discretion is

consistent with the statutory amendment and at least the spirit

of the Sentencing Commission’s approach.         Mau, 2020 WL 6153581;

Kamaka, 2020 WL 2820139, at *2-3.

            This court reads Application Note 1 to section 1B1.13

of the Sentencing Guidelines, which relates to compassionate

release motions, as providing that extraordinary and compelling

reasons warrant early release under any of four circumstances: if

“(1) the defendant suffers from a terminal illness and certain

other conditions are met; (2) the defendant suffers from a


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physical or mental condition that ‘substantially diminishes the

ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she

is not expected to recover;’ (3) certain family circumstances

justify compassionate release; or (4) ‘[a]s determined by the

Director of the Bureau of Prisons, there exists in the

defendant’s case an extraordinary and compelling reason other

than, or in combination with, [the first three categories of

reasons].’”    Kamaka, 2020 WL 2820139, at *2 (quoting U.S.S.G

§ 1B1.13, Application Note 1).       Crucially, the final “catch-all”

category applies only to the situation in which the Director of

the Bureau of Prisons has made the required determination

relating to compassionate release.

            That “catch-all” made sense when only the Director of

the Bureau of Prisons could bring a compassionate release motion.

The Sentencing Commission anticipated that the Director of the

Bureau of Prisons, and not the courts, would rely on the four

categories:

            A reduction under this policy statement may
            be granted only upon motion by the Director
            of the Bureau of Prisons pursuant to 18
            U.S.C. § 3582(c)(1)(A). The Commission
            encourages the Director of the Bureau of
            Prisons to file such a motion if the
            defendant [falls under any of the four
            enumerated categories]. The court is in a
            unique position to determine whether the
            circumstances warrant a reduction (and, if
            so, the amount of reduction), after
            considering the factors set forth in 18

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            U.S.C. § 3553(a) and the criteria set forth
            in this policy statement, such as the
            defendant’s medical condition, the
            defendant’s family circumstances, and whether
            the defendant is a danger to the safety of
            any other person or to the community.

U.S.S.G § 1B1.13, Application Note 4 (emphasis added).            In other

words, the Sentencing Commission anticipated that the Director of

the Bureau of Prisons would file a compassionate release motion

whenever it determined that an inmate fell into one of the four

enumerated categories of extraordinary and compelling

circumstances.     Even then, when a court considered the motion, it

was expected to exercise discretion (after considering a broad

range of criteria, such as the § 3553 factors, the defendant’s

medical condition, and the defendant’s family circumstances).

That is, when the Director of the Bureau of Prisons brought a

motion to the court, the Sentencing Commission did not intend for

the court to be bound by the four enumerated categories.            In

particular, the Sentencing Commission did not intend for the

court to be bound by the Director of the Bureau of Prisons’

determination that “other reasons” justified early release.

            If courts were indeed bound by the “catch-all”

category, and if that category only allowed the Director of the

Bureau of Prisons to exercise discretion, then judicial review

would be meaningless.      Courts would have to determine that

extraordinary and compelling circumstances existed every time the

Director of the Bureau of Prisons made such a determination.

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Courts would be nothing more than a rubber stamp.           That was not

the vision the Sentencing Commission had even under the old

scheme.    Instead, in noting that a court was in “a unique

position to determine whether the circumstances warrant a

reduction,” the Sentencing Commission was clearly anticipating

that courts would independently review such motions.             U.S.S.G

§ 1B1.13, Application Note 4.

            In sum, in Application Note 1, the Sentencing

Commission reviewed the four categories that the Director of the

Bureau of Prisons, not the courts, could consider in bringing

motions.    Those categories are not “applicable” to compassionate

release motions brought by inmates themselves.          See United States

v. Brooker, --- F.3d ---, 2020 WL 5739712, at *4-6 (2d Cir. Sept.

25, 2020) (“[W]e read the Guideline as surviving, but now

applying only to those motions that the BOP has made.).             Even if

the commentary applies to motions filed by inmates, a court’s

exercise of discretion to make the determination formerly made by

the Director of the Bureau of Prisons is consistent with the

Sentencing Commission’s understanding of the scope of a court’s

authority over the ultimate compassionate release decision.                See

Mau, 2020 WL 6153581; Kamaka, 2020 WL 2820139, at *2.

            In allowing inmate motions, Congress gave no indication

that judicial discretion was more constrained with inmate motions

than with Bureau of Prisons motions.        It appears that Congress


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 reasonably expected Application Note 1 to be amended or

 supplemented.    That did not occur.      Possibly that was because the

 Sentencing Commission was short commissioners and thus lacked a

 quorum.1   As this court has already concluded, the outdated

 Application Note does not constrain this court’s discretion in

 determining whether extraordinary and compelling circumstances

 warrant a reduction in a sentence.        See Mau, 2020 WL 6153581.

 Accordingly, the court rejects the Government’s argument that the

 applicable policy statements limit “extraordinary and compelling

 reasons” to medical conditions, age, and family circumstances.

 See ECF No. 47, PageID # 277.

            C.    Maata Has Not Demonstrated That Extraordinary and
                  Compelling Circumstances Justify His Early
                  Release.

            According to the CDC, a person’s risk of a severe

 illness (one that may require hospitalization, intensive care, or

 a ventalator) from COVID-19 increases with age.          The CDC website

 explains that “people in their 50s are at higher risk for severe

 illness than people in their 40s.        Similarly, people in their 60s

 or 70s are, in general, at higher risk for severe illness than


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       It appears that the Sentencing Commission has not had the
 opportunity to revise the policy statement in response to the
 First Step Act, because, since the passage of the First Step Act,
 the Sentencing Commission has had only two voting commissioners.
 See, e.g., United States v. Haynes, 2020 WL 1941478, at *12 n.20
 (E.D.N.Y. Apr. 22, 2020). The guidelines cannot be amended until
 two more voting commissioners are appointed to constitute a
 quorum. Id.

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 people in their 50s.     The greatest risk for severe illness from

 COVID-19 is among those aged 85 or older.”

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 older-adults.html (last visited October 21, 2020).

            The CDC currently lists the following conditions for

 people of any age as creating an increased risk of a severe

 illness from COVID-19:

            *Cancer

            *Chronic kidney disease

            *COPD (chronic obstructive pulmonary disease)

            *heart conditions, such as heart failure, coronary
            artery disease, or cardiomyopathies

            *Immunocompromised state (weakened immune system) from
            solid organ transplant

            *Obesity (body mass index [BMI] of 30 kg/m2 or higher
            but < 40 kg/m2)

            *Severe Obesity (BMI = 40 kg/m2)

            *Sickle cell disease

            *Smoking

            *Type 2 diabetes mellitus

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fw

 ww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fg

 roups-at-higher-risk.html (last visited October 21, 2020).

            The CDC also lists the following as possibly increasing

 the risk of a severe illness from COVID-19:

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            *Asthma (moderate-to-severe)

            *Cerebrovascular disease (affects blood vessels and
            blood supply to the brain)

            *Cystic fibrosis

            *Hypertension or high blood pressure

            *Immunocompromised state (weakened immune system) from
            blood or bone marrow transplant, immune deficiencies,
            HIV, use of corticosteroids, or use of other immune
            weakening medicines

            *Neurologic conditions, such as dementia

            *Liver disease

            *Overweight (BMI > 25 kg/m2, but < 30 kg/m2)

            *Pregnancy

            *Pulmonary fibrosis (having damaged or scarred lung
            tissues)

            *Thalassemia (a type of blood disorder)

            *Type 1 diabetes mellitus

 Id.

            The CDC notes that “[t]he more underlying medical

 conditions someone has, the greater their risk is for severe

 illness from COVID-19.”      Id.   Given the CDC’s guidance, this

 court concludes that Maata’s morbid obesity and hypertension

 place him at an increased risk of a severe illness if he

 contracts COVID-19, although the extent of that risk is unclear.

 Generally, multiple medical conditions place a defendant at

 greater risk than defendants whose only medical condition is

 obesity.   See United States v. Akolo, 2020 WL 4810104, at *3 (D.

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 Haw. Aug. 18, 2020) (“While this court certainly agrees that

 Akolo has legitimate concerns about contracting COVID-19, his

 obesity, standing alone, is not an exceptional and compelling

 reason that warrants a reduction in sentence.”).          However, it is

 not clear whether a person who has hypertension that is medically

 controlled, which is Maata’s situation, is at a materially

 increased risk.    See William F. Marshall, III, M.D., COVID-19 and

 High Blood Pressure: Am I at Risk?,

 https://www.mayoclinic.org/diseases-conditions/coronavirus/expert

 -answers/coronavirus-high-blood-pressure/faq-20487663 (“The

 latest evidence shows that people with uncontrolled or untreated

 high blood pressure may be at risk of getting severely ill with

 COVID-19.   It’s also important to note that people with untreated

 high blood pressure seem to be more at risk of complications from

 COVID-19 than those whose high blood pressure is managed with

 medication.”).    The court recognizes the possibility that Maata’s

 vitamin D deficiency may place him at risk with respect to COVID-

 19.   See UChicago Medicine researchers find association between

 vitamin deficiency, risk of infection,

 https://news.uchicago.edu/story/vitamin-d-deficiency-may-raise-ri

 sk-getting-covid-19-study-finds (last visited October 21, 2020);

 David O. Meltzer, Association of Vitamin DX Deficiency and

 Treatment with COVID-19, May 13, 2020,

 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7274230/ (“Vitamin D


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 deficiency that is not sufficiently treated is associated with

 COVID-19 risk.”) (not subjected to peer review).

            Maata’s risk of a severe infection from COVID-19 is

 tempered by the lack of active COVID-19 cases at USP Lompoc.

 Early in the COVID-19 pandemic, the virus spread rapidly through

 the prison.    USP Lompoc and its two camps have had 149 inmate and

 24 staff members recover from COVID-19, but 2 inmates have died.

 See https://www.bop.gov/coronavirus/index.jsp (last visited

 October 21, 2020).     However, as of the morning of October 21,

 2020, USP Lompoc has no active inmate cases of COVID-19 and 4

 active staff cases of COVID-19.       Presumably, the infected staff

 members are not coming to work.       Id.

            As this court noted in United States v. Kamaka, 2020 WL

 2820139, at *1 (D. Haw, May 29, 2020), the dormitory setting at

 the camps at USP Lompoc “invites the further spread of the

 coronavirus.”    The communal dormitory setting in the camps, with

 shared toilets and showers, means that, when “an inmate is

 infected but has not been identified as such and isolated, other

 inmates almost certainly will come into contact with him.”            Id.

 at *4.   Accordingly, even though USP Lompoc has no active inmate

 cases, this court is nevertheless concerned that the camp setting

 in which Maata is housed increases his risk of contracting COVID-

 19 should the virus reenter the prison.

            Because the parties offered conflicting accounts of the


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 prison’s present conditions, this court deferred ruling on this

 motion until it could review an expert report by Dr. Homer

 Venters summarizing the current state of the Lompoc complex

 COVID-19 outbreak.     The report was submitted in a pending case,

 Torres v. Milusnic, No. CV. 20-4450 CBM (C.D. Cal.).             Venters

 filed his report on September 25, 2020, see ECF No. 57-1 (copy of

 report filed in this case), calling the COVID-19 outbreak at the

 Lompoc complex “one of the nation’s most overwhelming.”             Id.,

 PageID # 573.

            Venters indicates that “most of the workers for the

 farm, transportation, safety, food service and Air Force base

 were housed in the Camps,” where Maata is incarcerated.             Id.,

 PageID # 581.    As pointed out in Maata’s Supplemental Memorandum,

 ECF Nop. 603, what Venters was told by BOP staff sometimes

 differed greatly from what he was told by inmates at the South

 Camp.   For example, according to staff, the inmate workers from

 the camps are screened daily for COVID-19 symptoms before

 starting work.    Id., PageID # 581-82.      However, no inmate

 “reported ever having been screened as part of their work

 detail.”   Id., PageID # 584.

            With respect to the South Camp medical facilities,

 staff told Venters that medical staff spent whatever time was

 necessary to see patients and that the “sick call response time”

 was “within 24 hours.”      Id., PageID # 583.     But the inmates


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 Venters spoke with disagreed with that statement, saying that

 “sick call requests take more than a week for response,” and that

 sometimes it took more than two weeks for a response to injuries.

 Id.

            Venters said that inmates in the camps initially had

 difficulty accessing medical care when they contracted COVID-19.

 Id., PageID # 584.     He noted that inmates were reluctant to

 report COVID-19 symptoms because they would then be transferred

 to a unit operating like solitary confinement.          Id.

            Most concerning to the court are the inmates’

 statements that correctional officers regularly refrained from

 wearing masks and threatened inmates with respect to what they

 might say to Venters.     Id.

            While Venters saw that paper towels and soap were

 available to inmates, inmates told Venters that paper towels and

 soap only became available right before his visit.            Id.

            Venters did note some positive things the Lompoc

 complex was doing to address the risks of COVID-19.           For example,

 the facility was screening staff well and had a good hospital

 unit and screening database.       Id., PageID # 590.

            Reading the Venters report as a whole, and considering

 the lack of any active cases of COVID-19 in USP Lompoc and its

 two camps, the court concludes that Maata is not in immediate

 danger of being infected with COVID-19, although the possibility


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 that he will be exposed to the virus in the future cannot be

 ignored.   This court is not discounting what may have been an

 attempt by the BOP to show Venters better conditions at the

 prison than usually exist or what may be serious flaws in USP

 Lompoc’s COVID-19 protocols.       Nevertheless, Maata has not shown

 that his susceptibility to COVID-19, standing alone, is an

 exceptional and compelling reason that warrants a reduction of

 his sentence at this time.

            The court therefore turns to an examination of factors

 set forth in § 3553(a).      Over and above Maata’s medical

 conditions and the situation at his Lompoc camp, several factors

 favor release: 1) Maata’s crime was a nonviolent drug crime;

 2) Maata has no history of violence and only one previous

 conviction for driving under the influence, see Presentence

 Investigation Report, ECF No. 38, PageID # 110; 3) Maata has a

 history of gainful employment, having worked for an airlines from

 1999 through 2013, id., PageID # 113; 4) Maata appears to be a

 high school graduate, id., PageID # 105 (indicates pending

 verification); and 5) although sporadic, Maata made attempts in

 prison to rehabilitate himself by taking numerous educational

 programs, including one relating to HVACs, see ECF No. 41-9,

 PageID # 189.    If released, Maata hopes to find employment in the

 HVAC field, putting vocational skills learned in prison to use.

 See ECF No. 41-1, PageID #s 168-69.        Finally, if released, Maata


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 has a place to stay.     He plans to stay with his sister and her

 husband, who are both pastors.       They live in a three-bedroom

 house in Texas.    Maata indicates that he is willing to abide by

 any monitoring or other condition.        See ECF No. 41-1, PageID

 #s 168-69.    While the Government claims Maata is proposing to

 increase his potential exposure to COVID-19 because the pastors

 may be seeing members of their congregation, the record does not

 include details of how the pastors conduct their jobs.           Moreover,

 living far away from where he committed the crimes in this case

 might help keep Maata on the right track.

             On the other hand, there are several factors suggesting

 that early release should be denied.        Maata has had disciplinary

 sanctions while in prison.      On March 13, 2020, for example, Maata

 was sanctioned for having unidentified contraband.          He was also

 sanctioned for tattooing several years ago (noting that a hearing

 was held on January 9, 2017, for an incident on December 20,

 2016).   See ECF No. 47-2, PageID # 308.       The amount of time

 remaining on Maata’s sentence is also an important consideration.

 This court’s lengthy sentence reflected the extensive nature of

 the drug crime at issue, which involved multiple pounds “ice.”

 It appears that Maata has been in custody since April 10, 2013,

 meaning that he has served about seven and a half years of his

 sentence.    See Presentence Investigation Report, ECF No. 38,

 PageID # 123.     While the court recognizes that Maata has served a


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 significant amount of his sentence, he has more than three years

 left to serve before his projected release date, which takes into

 account good-time credit.

             Like many of the other compassionate release requests

 this court has received during the COVID-19 pandemic, this is a

 difficult case.     But under § 3582(c)(1)(A), only extraordinary

 and compelling reasons can justify a reduction in an inmate’s

 sentence.    After considering Maata’s medical conditions, as well

 as the apparent improvement in the situation at USP Lompoc, the

 time remaining on his sentence for the significant drug crimes he

 was convicted of, his criminal history and lack of violence, his

 attempts at rehabilitation, his disciplinary sanctions, and his

 release plan, this court concludes that it lacks an extraordinary

 and compelling reason to reduce his sentence under

 § 3582(c)(1)(A).     Maata may, of course, file another motion

 should his factual situation change.

 III.        CONCLUSION.

             Maata’s request for compassionate release under 18

 U.S.C. § 3582(c)(1)(A) is denied.

             It is so ordered.

             DATED: Honolulu, Hawaii, October 21, 2020.



                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     United States District Judge



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